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                                                                        November 21, 2022
BY ECF

The Honorable Lorna G. Schofield                     The Honorable Sarah L. Cave
United States District Judge                         United States Magistrate Judge
Southern District of New York                        Southern District of New York
40 Foley Square                                      Daniel Patrick Moynihan United States Courthouse
New York, New York 10007                             500 Pearl Street
                                                     New York, New York 10007

                           Re:      Catherine McKoy, et al. v. Trump Corp., et al., No. 1:18-cv-9936
                                    (LGS - SLC) – Request for Conference

Dear Judge Schofield and Judge Cave:

        We write on behalf of Plaintiffs in the above-referenced action, pursuant to Rule I.D.3 of
Judge Schofield’s Individual Rules and Procedures for Civil Cases (“Individual Rules”), to
respectfully request provisional approval to file under seal an unredacted version of a letter-motion
to the Court (“Letter”) concerning a request to set a trial date and align briefing for summary
judgment and class certification motions. 1

        In the Letter, Plaintiffs refer to information found in and quote from documents and
transcripts that have been designated as “Confidential” by Defendants under Paragraph 3 of the
operative Protective Order entered by Judge Schofield (ECF 112).

         In accordance with Paragraph 16 of the Protective Order, which incorporates by reference
the Individual Rules, Plaintiffs have provisionally filed the unredacted Letter under seal and have
provisionally redacted references to the information designated as Confidential in the Letter filed
on the public docket. Pursuant to the Protective Order, however, the entity or entities “with an
interest in confidential treatment bears the burden of persuasion.” ECF 112 at 5.

        In this case, Defendants, as the parties that made the relevant confidentiality designations,
have the “interest in confidential treatment.” Id. Accordingly, on November 17, 2022, counsel


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 In accordance with the Individual Rules, an unredacted copy of the Letter, with redactions highlighted, will be filed
under seal contemporaneously with this letter motion. See Standing Order, 19-mc-00583 (Dec. 19, 2019); Electronic
Case Filing Rules & Instructions, Rule 6.8. Plaintiffs will timely serve the unredacted version on Defendants.
for Plaintiffs advised counsel for Defendants concerning our intent to file a letter-motion under
seal with the material designated confidential redacted from the publicly filed version.

       Finally, for the avoidance of doubt, Plaintiffs take no position at this time on whether the
redacted information was properly designated as Confidential or whether it ought to remain sealed
from the public. Plaintiffs further respectfully reserve the right to challenge the relevant
confidentiality designations in the future pursuant to Paragraph 15 of the Protective Order.


                                                     Respectfully submitted,




                                                     Roberta A. Kaplan

cc:    Counsel of Record (via ECF)




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